          Case MDL No. 3089 Document 45-1 Filed 10/04/23 Page 1 of 1




                 BEFORE THE UNITED STATES JUDICIAL PANEL ON
                         MULTIDISTRICT LITIGATION


 IN RE: ORAL PHENYLEPHRINE                      MDL NO. 3089
 MARKETING AND SALES PRACTICES
 LITIGATION



                               SCHEDULE OF ACTIONS
 No.    Plaintiffs              Defendants            District     Civil Action    Judge
        Tatiana Benjamin,       GlaxoSmithKline       E.D.Pa       2:23-cv-03856   Hon. Kai
        Christine Contreras,    LLC;                                               N. Scott
        Natasha Freeman,        McNeil Consumer
        Robin Glauser, and      Healthcare; Procter
        Anthony Rogers          & Gamble
                                Company; Reckitt
                                Benckiser LLC; and
                                Walmart Inc
Dated: October 4, 2023                              Respectfully submitted,


                                                  /s/ Christopher A. Seeger
                                                  Christopher A. Seeger
                                                  SEEGER WEISS LLP
                                                  55 Challenger Road, 6th Floor
                                                  Ridgefield Park, NJ 07660
                                                  Tel: 973-639-9100
                                                  cseeger@seegerweiss.com

                                                  Attorneys for Plaintiffs
